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AO 91 (Rev. 02/09) Criminal Complaint




              United States District Court
                                                              for the

                                                    Western District of New York

                          United States of America
                                                                             Case No. 23-MJ-615-MJP
                                           v.

                     VYACHESLAVS. MIGITSKIY

                                        Defendant
                                                      CRIMINAL COMPLAINT

       I, WILLIAM D. KING, the complainant in this case, state that the following is true to the best of my
knowledge and belief: That from on or about August 25, 2022, to on or about October 4, 2022, in the Western District
of New York, the defendant, VYACHESLAV S. MIGITSKIY:

(1) being the owner, master, and person in charge and command of a vessel, that is, a 25 foot Bayliner boat bearing
registration number NY5720JS, did willfully cause and permit the destruction and injury of such vessel within the
territorial waters of the United States, that is Lake Ontario, in violation of 18 U.S.C. § 2274;

(2) in a matter within the jurisdiction of the executive branch of the Government of the United States, did knowingly
and willfully make a materially false, fictitious, and fraudulent statement and representation, that is, the defendant
did state and represent to a Monroe County Deputy Sheriff and a Special Agent with the U.S. Coast Guard, who
were conducting an investigation into a partially submerged vessel in Lake Ontario, which was a matter within the
jurisdiction of the United States Coast Guard, that he had donated the vessel, a 25 foot Bayliner boat, to an un-named
individual, when in truth and in fact, and as the defendant then and there knew, the defendant had not donated the
vessel to anyone, in violation of 18 U.S.C. § 100 l(a)(2); and

(3) did did sink, and permit and cause to sink, a vessel, that is, a 25 foot Bayliner boat bearing registration number
NY5720JS, in a navigable channel, that is, Lake Ontario, in violation of 33 U.S.C. §§ 409 and 41 I.
This Criminal Complaint is based on these facts: SEE ATTACHED AFFIDAVIT OF COAST GUARD
INVESTIGATIVE SERVICE SPECIAL AGENT WILLIAM D. KING.
         � Continued on the attached sheet.
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                                                                        --------���------
Affidavit and Criminal Complaint submitted electronically
by email in .pdfformat. Oath administered, and contents
and signature, attested to me as true and accurate
telephonically pursuant to Fed.R.Crim. P. 4.1 and 4(d) on:

Date:     August 28, 2023
                                                                                     Judge's signature

                                                                               MARK W. PEDERSEN
City and State: Rochester, New York                                     UNITED STATES MAGISTRATE JUDGE
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               AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT


STATE OF NEW YORK )
COUNTY OF MONROE )                  ss:
CITY OF ROCHESTER )


                AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


       I, William D. King, being first duly sworn, hereby depose and state as follows:


       1.       I am a Special Agent with the U.S. Department of Homeland Security, Coast

Guard Investigative Service (hereinafter referred to as “CGIS”), assigned to the Resident

Agent Office, Buffalo, New York. I have been employed with the CG/CGIS for 17 years. As

a Federal Agent, I am authorized to investigate violations of laws of the United States and to

execute warrants issued under the authority of the United States. My duties as a Special Agent

with CGIS include the investigations of criminal activity within the jurisdiction of the United

States Coast Guard in connection with maritime related crimes to include violations of Title

18, United States Code, Sections 1001 (false statement regarding a matter within the

jurisdiction of the United States), 2274 (Destruction of a Vessel by Person in Charge), and

Title 33, United States Code, Section 409 (Sinking a Vessel in Navigable Waters).



       2.       I make this affidavit in support of a criminal complaint for VYACHESLAV S.

MIGITSKIY (“MIGITSKIY”), with a date of birth in September 1989, with destruction of a

vessel in violation of Title 18, United States Code, Section 2274, making a false statement in

violation of Title 18, United States Code, Section 1001(a)(2), and sinking of a vessel in a

navigable channel in violation of Title 33, United States Code, Sections 409 and 411.
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          3.       The statements contained in this affidavit are based on my involvement in this

investigation, as well as information provided to me by other law enforcement officers

involved in this investigation, and upon my training and experience. Because this affidavit is

being submitted for the limited purpose of seeking a criminal complaint, I have not included

each and every fact known to me concerning this investigation. I have set forth only the facts

that I believe are necessary to establish probable cause to believe that MIGITSKIY violated

Title 18, United States Code, Sections 2274, 1001(a)(2), and Title 33, United States Code,

Sections 409 and 411.



          4.       On August 26, 2022, CGIS Resident Agent Office Buffalo received notification

from Sector Buffalo Command Center (SBCC) regarding a report of a partially submerged

vessel, a 1987 25’ Bayliner with New York registration number NY5720JS, last registered to

an identified individual (hereinafter “PREVIOUS OWNER”) from New Kingston, NY. The

vessel was reported to be submerged by a local mariner (hereinafter “WITNESS 1”)

approximately one-half mile offshore east of Little Pond, Rochester, NY. A United States

Coast Guard small boat responded to the area and reported the location of the capsized vessel

to be in position 46° 17.115’N / 077° 34.770’W, located outside the entrance area Genesee

River, NY and located in Lake Ontario. The location where the partially submerged 1987

25’ Bayliner was found was in a navigable channel and the territorial waters of the United

States.



          5.       Several 911 calls were made regearing the partially submerged vessel, and

because it was unknown if individuals were on the boat, an active search and rescue mission

ensued among several law enforcement agencies, including the U.S. Coast Guard, the

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Monroe County Sheriffs Office, the New York State Police, and a Canadian fixed-wing

aircraft. As part of the search and rescue mission, a dive team with the Monroe County

Sheriff’s Office documented that no individuals were on the partially submerged vessel and

confirmed that the vessels propellers and boat plug were missing, and all electronics were

removed from the vessel. The dive team also confirmed that although the engine was in the

engine compartment and intact, there was no apparent signs of oil/fuel leaking from the

engine block. As of September 22, 2022, the total estimated loss of the United States Coast

Guard’s search and rescue efforts was $14,194, and the New York State Police rescue

helicopter cost recovery was $1,248.00, calculated at $832 per hour for 1.5 hours.



       6.       SBCC reported that the vessel was suspected to have been witnessed being

towed out of the Genesee River, NY, via Closed Circuit Television (CCTV) by United States

Coast Guard Station Rochester on August 25, 2022. On August 26, 2022, SBCC

telephonically contacted PREVIOUS OWNER who reported to have sold the vessel on eBay

to a company named Boat Angel, a boat donation company and that a representative from

Boat Angel took possession of the vessel. SBCC contacted Boat Angel Donations and

received a number for the current owner of the 1987 25’ Bayliner, who was identified as

VYACHESLAV S. MIGITSKIY. SBCC made telephonic contact with MIGITSKIY who

stated that he gave the boat away for free using Facebook and had no information on who the

new owner was. SBCC requested assistance from the Monroe County Sheriff’s Office to

conduct a welfare check on MIGITSKIY.




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       7.       On August 26, 2022, at approximately 8:12 a.m., the Monroe County Sheriff’s

Office along with Greece Police Department, NY, interviewed MIGITSKIY at his residence

located in Rochester, NY. MIGITSKIY reported that he gave the vessel in question to people

of Puerto Rican descent approximately two weeks ago and he did not recall if he posted the

vessel either on Craigslist or Facebook Market Place. MIGITSKIY could not provide the

identity of the person he gave the vessel too and mentioned that he kept the trailer. The

Monroe County Sheriff’s Office Deputy annotated that on MIGITSKIY’s property, a boat

trailer was attached to a vehicle (truck) with license plate # 10560PF and MIGITSKIY

admitted that the trailer was the same trailer that he used to deliver the 1989 25’ Bayliner,

with New York registration NY5702JS. Body camera footage taken by Monroe County

Sheriff’s Office that recorded the conversation between MIGITSKIY and woman later

determined to be MIGITSKIY’s wife indicated that once a listing on Facebook Marketplace

is deleted, the archive information is no longer available. MIGITSKIY stated that he placed

the vessel in the river for the unknown individuals, but that he kept the trailer because he buys

and sells trailers. MIGITSKIY had no further information to provide and that he only had

the vessel for approximately two months and purchased the vessel off eBay.com.



       8.       Subsequently on the same day, CGIS Special Agent Ryan Nicholson and I

retrieved all applicable video recordings from Coast Guard Station Rochester. Two videos

were captured from Coast Guard Station Rochester’s CCTV Security system. In one capture,

a vessel white in color, unknown make/model, was observed coming into view from the left

side of the camera heading outbound of the Genesee River, and that the suspect vessel (towing

vessel) had another vessel that was white with a blue vertical strip located at the top gunnel



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area which matched the description of the 1987 25’ Bayliner, in stern tow. No towing line

could be observed due to the quality and lack of lighting from the video. The suspect (towing)

vessel had navigation lights activated and the towed vessel had no lights activated. No persons

or identifiers were observed on either vessel. The second video captured a vessel matching the

description of the suspect (towing) vessel from the earlier video, entering the channel of the

Genesee River, Rochester, NY originating from Lake Ontario, with no other vessels in the

vicinity and no longer towing any vessels inbound. Agent Nicholson and I reviewed the

entirety of the camera footage and observed no other vessels matching the description of the

subject towing vessel or the towed vessel between the times they were observed.



       9.       On August 29, 2022, I contacted PREVIOUS OWNER to request all bill of

sales and supporting documentation to include all communications concerning the donation

of the 1987 25’ Bayliner to Boat Angel Donations. On August 30, 2022, PREVIOUS

OWNER provided me an electronic copy of the receipt indicating that he sold the 1989 25’

Bayliner, hull identification number (HIN#) BL2B43STJ687, and Trailer, vehicle

identification number (VIN#) 1T0BS19T7KS109263 on October 16, 2020, for $1,107.00 and

the name of the buyer was not recorded on the form.



       10.      I then contacted Boat Angel Donations located in Chester, PA, concerning the

sale and distribution of the 1987 25’ Bayliner. The Bill of Sale provided by Boat Angel

recorded that on October 16, 2020, PREVIOUS OWNER relinquished ownership of the

vessel with HIN# BL2B43STJ687, to VYACHESLAV S. MIGITSKIY. It was also annotated

on the Bill of Sale that the vessel came with a boat trailer, VIN#1T0BS19T7KS109263. The



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HIN# associated with vessel is consistent with the most recent registration information

recorded in the U.S. Coast Guard Vessel Identification System.



       11.    During my investigation, I received security camera recordings from several

businesses and entities, including CM Armitage Electrical Contracting Work, the West

Irondequoit Central School District (CSD), Voyager Boat Sales Inc., video footage extracted

from the Colonel Patrick O’Rorke Bridge, and the U.S. Border Patrol. A review of this video

show MIGITSKIY using his distinctive pickup truck (it has no bed) to tow the sunken boat

to a marina in Rochester, placing the sunken boat in the water, and then using a different boat

that he owned and was moored at the marina, to tow the sunken boat out into the lake.

Although no one video positively identifies MIGITSKIY, by reviewing all the videos in

combination, I believe MIGITSKIY was the responsible party. Specifically, on August 25,

2022, at approximately 8:20 p.m., a camera at the West Irondequoit CSD building, located

at 720 Washington Ave, Irondequoit, NY 14617, recorded MIGITSKIY’s distinctive pickup

truck towing a triple axle boat trailer with a white boat on in leaving the driveway of the rear

yard at MIGITSKIY’s residence, and proceeding northbound on Washington. Cameras

located at CM Armitage Electrical Contracting Work, located at 723 Washington Ave,

Rochester, NY 14617, recorded MIGITSKIY’s distinctive pickup truck towing a triple axle

boat trailer with a white boat and leaving MIGITSKIY’s rear yard, turning left on Rock Beach

Road and then turning left and proceeding southbound on St. Paul Blvd. A camera located

at the Rochester Border Patrol Station, located at 171 Pattonwood Dr, Rochester, NY 14617,

recorded MIGITSKIY’s distinctive pickup truck towing a triple axle boat trailer with a white

boat and traveling westbound on Pattonwood Dr. at 8:25 p.m. Cameras located at Voyager



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Boat Sales, which operates a marina located at 20 Marina Dr, Irondequoit, NY 14617,

recorded MIGITSKIY’s distinctive pickup truck towing a triple axle boat trailer with a white

boat pull into the parking lot, backing the towed boat onto the boat ramp, and launching the

towed boat into the water. At that point, the pickup truck is parked, and a man walks from

the truck to a different boat slip. The shape, build, and appearance of the man matches that

of MIGITSKIY. A short time later, a second boat is seen pulling up to the towed boat that

was launched into the water, and then pulling away with the other boat in tow. A camera

located under the O’Rourke Bridge, which spans the Genesee River, recorded the two boats

heading towards Lake Ontario at approximately 10:45 p.m., and only one boat returning at

approximately 1:00 a.m. the following day.



       12.    On August 31, 2022, Agent Nicholson and I visited Voyager Boat Sales Inc.,

located at 20 Marine Dr., Irondequoit, NY. Voyager Boat Sales Inc. has a public boat ramp

and hull out equipment as well as docks rented out to local mariners and patrons. Voyager

Boat Sales Inc., provided a Dock Lease Agreement dated December 5, 2021, that indicated

MIGITSKIY rents out a dock (Unknown #) for a 33’ SeaRay. The lease was signed on

January 6, 2022. No registration number was provided on the form. The owner/operator of

Voyager Boat Sale Inc. mentioned that he had spoken to MIGITSKIY in the past through

normal conversation and noted that the vessel’s name was “WAYNE’S WORLD”, and that

the vessel was located on the last slip on the right when facing the Genesee River, NY, off of

the first Pier. The owner/operator of Voyager Boat Sale Inc. confirmed the location of the

vessel from an online map of the pier area. After arriving at the location of the 33’ SeaRay

moored at Voyager Boat Sales Inc. under the ownership of MIGITSKIY, I took photographs



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of the vessel from various angles. The name “WAYNE’S WORLD” was located on the stern

area of the vessel and the registration was annotated as CT4151AN with a 2021 registration

sticker. Your affiant believes that this is the boat that was used by MIGITSKIY on the evening

of August 25, 2022, to tow and then intentionally sink the 1987 25’ Bayliner with New York

registration number NY5720JS.



       13.     On October 4, 2022, Agent Nicholson and I interviewed MIGITSKIY

concerning his suspected involvement in the intentional sinking of the 1987 25’ Bayliner, with

New York registration NY5720JS. The interview was conducted at MIGITSKIY’s residence

and was audio recorded. During the interview MIGITSKIY stated that he had donated the

vessel in question to people of Puerto Rican descent and that the individuals who received the

vessel had picked up the vessel along with the boat trailer. MIGITSKIY stated he had given

the vessel away via Facebook and that approximately twenty individuals stopped by the

residence to take look at the vessel. After one individual was interested in fixing up the vessel,

the unidentified person picked up the vessel and trailer, removed the vessel, and returned the

trailer to MIGITSKIY. No specific date or timeframe was provided and VYACHESLAV S.

MIGITSKIY had no information on the unidentified person who took the vessel. During the

interview MIGITSKIY was shown photograph stills of the camera footage that was extracted

from various locations that indicated that the vessel and trailer was at his residence on August

25, 2022. MIGITSKIY declined to provide any further information and the interview

concluded.




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       14.    On March 8, 2023, I telephonically interviewed WITNESS 1 concerning his

report to the United States Coast Guard that he observed a capsized vessel with the bow out

of the water on August 26, 2022. WITNESS 1 stated he was at his residence in Rochester,

NY, when he noticed a partially submerged vessel with the bow out of the water

approximately 200 yards off the shore in Lake Ontario. WITNESS 1 did not observe any

other vessels in the area when he initially saw the partially submerged vessel through his

binoculars. When WITNESS 1 saw the vessel, the time was approximately 6:00 a.m.

WITNESS 1 described the sea state as calm with calm winds and recalled that the previous

night on August 25, 2022, there was a thunderstorm with rain. WITNESS 1 did not recall

observing any other vessels on the water the previous night. WITNESS 1 mentioned that the

position that the partially submerged vessel was first observed is a high traffic area for local

mariners which could average in excess of twenty vessels during the boating season where

vessels are constantly entering and exiting the Genesee River, NY. WITNESS 1 believed that

the vessel itself was a danger to other vessels due to high volume of traffic.




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